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UNITED STATES DISTRICT COURT
DISTRICT OF MASSACHUSETTS

 

SECURITIES AND EXCHANGE
COMMISSION,

Plaintiff,

CIVIL ACTION
NO. 21-11272-WGY

Vv.

LUIS JIMENEZ CARRILLO, AMAR
BAHADOORSINGH, JUSTIN ROGER
WALL, and JAMIE SAMUEL WILSON,

Defendants,
HAYDEE YOLANDA SANCHEZ DIAZ
MONGE, MARTHA Y. JIMENEZ TRUST,
and CHARLES A. CARRILLO TRUST,

Relief Defendants,

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YOUNG, D.J. February 16, 2023
ORDER

On November 9, 2022, this Court entered a consent judgment
(“Consent Judgment”) against relief defendant Haydee Yolanda
Sanchez Diaz Monge (“Sanchez Diaz”) that was the product of a
settlement between the parties. ECF No. 67. There, the Court
left open the question as to whether it was appropriate to order
Sanchez Diaz to pay disgorgement of ill-gotten gains as alleged
by the Securities and Exchange Commission (“Commission”) and
prejudgment interest thereon -- and, if so, in what amount. Id.
The Court also added that if ordered, prejudgment interest had

to be calculated based on the rate of interest used by the
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Internal Revenue Service for the underpayment of federal income
tax as set forth in 26 U.S.C. §$6621(a) (2). Id. Importantly,
the parties also agreed, and the Court ordered that Sanchez Diaz
was precluded from arguing that she did not receive an
automobile purchased with funds resulting from the federal
securities laws violations as alleged in the Complaint. Id.

The Commission now seeks the entry of final judgment against
Sanchez Diaz that requires her to pay disgorgement of $134,500,
plus prejudgment interest of $35,304, for a total of $169,804.
This Court GRANTS the Commission’s request in its entirety,
provided that the amount of $169,804 be paid to a fund
designated by the Commission whose purpose is to compensate the
victims of the securities fraud perpetrated by the Defendants in
this action -- Luis Jimenez Carrillo (“Carrillo”), Amar
Bahadoorsingh, Justin Roger Wall, and Jamie Samuel Wilson -- and
provided further that this order not constitute a final judgment
as the disgorged funds are to be held in trust by the Commission
for payment to victims of the fraud (and there is the
theoretical possibility that an amount will remain to be repaid
to Sanchez Diaz).

Contrary to what was argued by Sanchez Diaz, this Court is
satisfied that the Commission has shown that Sanchez Diaz
“received ill-gotten funds” -- a 2017 BMW X5 automobile (the

“BMW”) -- and did “not have a legitimate claim to those funds.”
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Securities and Exchange Commission v. Knox, No. 18-cv-12058-

 

RGS, 2022 WL 1912877, *4 (D. Mass. June 3, 2022) (Stearns, J.)

(quoting Securities and Exchange Commission v. Cavanagh, 155

 

F.3d 129,136 (2d Cir. 1998). In the Consent Judgment, Sanchez
Diaz agreed not to contest that the BMW she received was
purchased with funds resulting from the federal securities laws
violations. ECF No. 67. Moreover, conspicuously absent in
Sanchez Diaz defense is any persuasive argument that Sanchez
Diaz “provided services or value in exchange for” the BMW.

Knox, 2022 WL 1912877, *4; Securities and Exchange Commission v.

 

Tropikgadget FZE, No. 15-cv-10543-ADB, 2017 WL 722573, *5 (D.
Mass. Feb. 23, 2017) (Burroughs, J.) (awarding disgorgement
against relief defendants who gave “no consideration in exchange
for the funds, such as providing goods or services”); Federal

Trade Commission v. Direct Mktg. Concepts, Inc., 569 F. Supp. 2d

 

285, 312 (D. Mass. 2008) (O'Toole, J.) (relief defendant may
show a legitimate claim to funds if they provided “services as
consideration for the identified monies”). Notwithstanding the
references to “consideration” in the cases just cited, the
actual question here is not whether there existed
“consideration” in the contract law sense but whether Sanchez
Diaz provided substantially equivalent value in the bankruptcy
law sense. The precise question before this Court is thus

wholly distinct from the enforceability of the 2016 “Convenio de
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Provisién de Alimentos y Pensién” agreement as between Sanchez
Diaz and Carrillo under the laws of California and Mexico. Nor
does Sanchez Diaz's self-serving affidavit persuades this Court
that she provided goods, services, or other substantially
equivalent value in exchange for the BMW. Sanchez Diaz’s other
arguments in her brief and oral hearing are equally unpersuasive
and are hereby rejected. Therefore, disgorgement is appropriate
under the circumstances.

For these reasons, this Court GRANTS the Commission’s
request in its entirety as provided above and ORDERS that
Sanchez Diaz pay the amount of $169,804 to a fund designated by
the Commission whose purpose is to compensate the victims of the
securities fraud perpetrated by the named Defendants.

SO ORDERED.
Wield a 0
JUDG

of the
UNITED STATES!

 

1This is how my predecessor, Peleg Sprague (D. Mass. 1841-1865),
would sign official documents. Now that I’m a Senior District
Judge I adopt this format in honor of all the judicial
colleagues, state and federal, with whom I have had the
privilege to serve over the past 44 years.
